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                                                                 ' • FLORENC£, SC
                                                         2017NOV 13 AH 10: 48

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT.OF SOUTH CAROLINA



                                                            Complaint for a Civil Case

                                                            Case N(). _ _ _ _ _ _ _ _ __
(Write the full name of each plaintiff who is filing
                                                            (to be filled in by the Clerk's Office)
this complaint. ff the names of all the plaintiffs
cannot fit in the space above, please write "see
attached" in the space and attach an additional
                                                            Jury Trial:   ·   ~         D No
                                                                              (check one)
page with the full list of names.) ·


    -against-
  (¥) (),t      LJ .(_; .~ bu   I.I W") .




(Write the full name of each defendant who is
being sued. lfthe names of all the defendants
cannot fit in the space above, please write "see
attached" in the space and attach an additional
page with the full list of names.)
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                                                                                                   \




    I.   The Parties to This Complaint

         A.    The Plaintiff(s)

               Provide the information below for each plaintiff named in the complaint. Attach
               additional pages if needed.

                      Name                    5'l.p_,:-q VJtvrv,_J--¼ · ft10Jcskclc
                      Street Address           P,   U. ' /'!,o-..J.   d- 1I ')
                      City and County
j                     State and Zip Code
.
                      Telephone Number
         B.    The Defendant(s)

               Provide the information below for each defendant named in the complaint,
               whether the defendant is an individual, ~· government agency, an organizatio~, or
               a corporation. For an individual defendant, include the person's job or title (if
               known). Attach additional pages if needed.

               Defendant No. l
                      Name
                      Job or Title
                      (if known)
                      Street Address
                      City and County
                      State and Zip Code
                      Telephone Number
               Defendant No. 2
                     Name
                     Job or Title
                     (if known)
                     Street Address
                     City and County
                     State and Zip Code
                     Telephone Number
              Defendant No. 3
                     Name



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                       Job or Tide
                       (if known)
                       Street Address
                       City and County
                       State and Zip Code
                       Telephone Number
               Defendant No. 4
                       Name
                       Job or Title
                       (if known)
                       Street Address
                       City and County
                       State and Zip Code
                       Telephone Number
II.    Basis for Jurisdictimu

       Federal courts are courts of limited jurisdictior:i (limited power). Generally, only two
       types of cases can be heard in federal court: cases involving a federal question and cases
                                                                                                0




       involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
       under the United States Constitution or federal laws or treaties is a federal question case.
                                                         I                                  •


       Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
       State or nation and the amount at stake is mor~ than $75,000 is a diversity of citizenship
       case. In a diversity of citizenship case, no defendant may be a citizen of the same State
       as any plaintiff.

       What is th~is for federal court jurisdiction? (check all that apply)
             Er"Federal question                             D Diversity of citizenship

       Fill out the paragraphs in· this section that apply to this case.

       A.      If the Basis for Jurisdiction Is a Federal Question

               List the specific federal statutes, federal treaties, and/or provisions of the United
               States Constitution that are at issue in this case.




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                      3.      The Amount in Controversy

                              The amount in controversy-the amount the plaintiff claims the defendant
                              owes or the amount at stake-is more than $75,000, not counting interest
                              and costs of court, because (explain):
                               J1Qo        Oo    u


    III.     Statement of CRaim

             Write a short and plain statement of the claim. Do not make legal arguments. State as
             briefly as possible the facts showing that ea~h plaintiff is entitled to the damages or other
1            relief sought. State how each defendant wa; inv()lved and what each defendant did that
             caused the plaintiff harm or violated the plaintiffs rights, including the dates and places
             of that involvement or conduct. If more than one claim is asserted, number each claim
             and write a short and plain statement of each claim in a separate paragraph. Attach
             additional pages if needed.



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              or ,"''IKll      r,,,,.,        ""\j   k!Y",.,_,4.     '°~"  c1, •~ 1,-,-,, J.. '   ;l b"

    IV.      Relief

             State briefly and precisely what damages or ?ther relief the plaintiff asks the court to
             order. Do not make legal arguments. Inclu9e any basis for claiming that the wrongs
             alleged are continuing at the present time. Include the amounts of any actual damages
             claimed for the acts alleged and the basis for: these amounts. Include any punitive or
             exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
             actual or punitive money damages.

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V.   Certification and Closing

     Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best ofmy
     knowledge, information, and belief that this complaint: (1) is not being presented for an
     improper purpose, such as to harass, cause unri~cessary delay, or needlessly increase the
     cost of litigation; (2) is supported by existing law or by ~ nonfrivolous argument for
     extending, modifying, or reversing existing law; (3) the factual contentions have
     evidentiary support or, if specifically so identified, will likely have evidentiary sµpport
     after a reasonable opportunity for further investigation or discovery; and (4) the
     complaint otherwise complies with the requirements of Rule 11.

     A.     For Parties Without an Attorney

            I agree to provide the Clerk's Office wipi any changes to my address where case-
            related papers may be served. I unders~d that my failure to keep a current
            address on file with the Clerk's Office may result in the dismissal of my case.

            Date of signing:   Y\~k 1 , 20_(1
            SignatureofPlaintiff         ~ OV'u~ ~
            Printed Name of Plaintiff    $-tp, ·c,    i/ J N ,v th   J:, I r, JS WC

     B.     For Attomeys

            Date of signing: _____ , 20_.

            Signature of Attorney
            Printed Name of Attorney
            Bar Number
            Name of Law Firm
            Address
            Telephone Number
            E-mail Address




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